    Case 1:19-cv-00908-APM-TJK-NJR Document 72 Filed 06/03/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
TED CRUZ FOR SENATE et al.,               )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 19-cv-908 (NJR, APM, TJK)
                                          )
FEDERAL ELECTION COMMISSION et al., )
                                          )
      Defendants.                         )
_________________________________________ )

                                             ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 71, the court grants

Plaintiffs’ Motion for Summary Judgment and denies Defendants’ Cross-Motion for Summary

Judgment. It is further ordered that Plaintiffs’ regulatory claims, previously held in abeyance, are

dismissed as moot.

       This is a final, appealable Order.

Dated: June 3, 2021                                                /s/

                                                            Neomi J. Rao
                                                     United States Circuit Court Judge

                                                                   /s/

                                                            Amit P. Mehta
                                                     United States District Court Judge

                                                                   /s/

                                                            Timothy J. Kelly
                                                     United States District Court Judge
